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 1   RENE L. VALLADARES
     Federal Public Defender
 2   Nevada State Bar No. 11479
     MARGARET W. LAMBROSE
 3   Assistant Federal Public Defender
     Nevada State Bar No. 11626
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 6   Maggie_Lambrose@fd.org

 7   Attorney for Josue Ivan Orozco-Becerra

 8
                                  UNITED STATES DISTRICT COURT
 9
                                       DISTRICT OF NEVADA
10
11   UNITED STATES OF AMERICA,                              Case No. 2:21-mj-00454-EJY

12                   Plaintiff,                             STIPULATION TO CONTINUE
                                                            PRELIMINARY HEARING
13          v.
                                                            (Second Request)
14   JOSUE IVAN OROZCO-BECERRA,

15                   Defendant.

16
17          IT IS HEREBY STIPULATED AND AGREED, by and between Christopher Chiou,
18   Acting United States Attorney, and Jared Grimmer, Assistant United States Attorney, counsel
19   for the United States of America, and Rene L. Valladares, Federal Public Defender, and
20   Margaret W. Lambrose, Assistant Federal Public Defender, counsel for Josue Ivan Orozco-
21   Becerra, that the Preliminary Hearing currently scheduled on October 25, 2021, be vacated and
22   continued to a date and time convenient to the Court, but no sooner than thirty (30) days.
23          This Stipulation is entered into for the following reasons:
24          1.       Counsel for the defendant will be out of the district during the scheduled
25   hearing date.
26
            Case 2:21-mj-00454-EJY Document 18 Filed 10/25/21 Page 2 of 3




 1             2.     Parties have entered negotiations and need the additional time to resolve this
 2   matter.
 3             3.     Defendant is incarcerated and does not object to a continuance.
 4             4.     Additionally, denial of this request for continuance could result in a
 5   miscarriage of justice.
 6             This is the second request for continuance filed herein.
 7             DATED this 25th day of October, 2021.
 8
 9    RENE L. VALLADARES                                CHRISTOPHER CHIOU
      Federal Public Defender                           Acting United States Attorney
10
11       /s/ Margaret W. Lambrose                          /s/ Jared Grimmer
      By_____________________________                   By_____________________________
12    MARGARET W. LAMBROSE                              JARED GRIMMER
      Assistant Federal Public Defender                 Assistant United States Attorney
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 1                                UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                               Case No. 2:21-mj-00454-EJY
 4
                    Plaintiff,                               ORDER
 5
            v.
 6
     JOSUE IVAN OROZCO-BECERRA,
 7
                    Defendant.
 8
 9
10          Based    on     the    Stipulation    of    counsel   and   good   cause   appearing,

11   IT IS THEREFORE ORDERED that the Preliminary Hearing currently scheduled on

12   October 25, 2021 at the hour of 4:00 p.m., be vacated and continued to November 24, 2021

13   at the hour of 4:00 p.m., in Courtroom 3D.

14          DATED this 25th day of October, 2021.
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16
                                                       UNITED STATES MAGISTRATE JUDGE
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